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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

COLUMBIA GAS TRANSMISSION,                   *
LLC,
                                             *
       Plaintiff,
                                             *
v.                                                       Civil Action No. GLR-19-1444
                                             *
.12 ACRES OF LAND, MORE OR LESS,
IN WASHINGTON COUNTY,            *
MARYLAND, et al.
                                 *
      Defendants.
                               *****
                              ORDER

       On August 13, 2019, the Court held a hearing on Plaintiff Columbia Gas

Transmission, LLC’s (“Columbia Gas”) Plaintiff’s Motion for an Order of Condemnation

and for Preliminary Injunction (ECF No. 2). To allow further consideration of the parties’

briefs and oral arguments, the Court continued the hearing until August 21, 2019, when it

issued its ruling orally. For the reasons stated on the record, Columbia Gas failed to

establish its entitlement to preliminary injunctive relief. As a result, the Court denied the

Motion. The Court then concluded that Defendants State of Maryland and the Department

of Natural Resources’ (“MDNR”) Eleventh Amendment immunity bars Columbia Gas’s

Complaint in Condemnation. As a result, the Court determined it did not have subject

matter jurisdiction over this case and dismissed the Complaint.1


       1
         Because the Court does not have subject matter jurisdiction over this case, the
Court is without power to rule on the other pending motions, MDNR’s Motion to Dismiss,
(ECF No. 29), and Columbia Gas’s Motion to Strike Defendant’s Motion to Dismiss, (ECF
No. 35).
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       Accordingly, it is this 22nd day of August, 2019, by the United States District Court

for the District of Maryland, hereby:

       ORDERED that Columbia Gas’s Plaintiff’s Motion for an Order of Condemnation

and for Preliminary Injunction (ECF No. 2) is DENIED;

       IT IS FURTHER ORDERED that the Complaint in Condemnation (ECF No. 1) is

DISMISSED; and

       IT IS FURTHER ORDERED that the Clerk CLOSE this case.



                                          __________/s/______________
                                          George L. Russell III
                                          United States District Judge




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